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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

JANE DOE

       Plaintiff,
                                                    Case No. 17-12301
v.
                                                    Honorable Victoria A. Roberts
ARSENIY BAKHSEHTSYAN,

     Defendant.
_________________________________/

        ORDER GRANTING DEFENDANT’S MOTION TO DISMISS [Doc. # 15]

       Jane Doe (“Doe”) brings this action under 42 U.S.C. § 1983 against Arseniy

Bakhsehtsyan (“Bakhsehtsyan”). Doe alleges that Bakhsehtsyan stalked and threatened

her. She reported his behavior to the police and to the University of Michigan

(“University”), where they were both students. Bakhsehtsyan faces criminal charges.

The University found by a preponderance of the evidence that Bakhsehtsyan stalked

Doe. Additionally, Doe obtained a Personal Protective Order (“PPO”) against

Bakhsehtsyan.

       In her complaint (“Complaint”) Doe alleges that in retaliation, Bakhsehtsyan: 1)

filed a civil suit against her for, inter alia, defamation; 2) filed a motion to dissolve the

PPO; and 3) sued the University. Doe alleges that by bringing these retaliatory suits,

Bakhsehtsyan violated her right to free speech under the First Amendment, and her

right to privacy under the Fourteenth Amendment. Specifically, Doe claims that

Bakhsehtsyan has “utilized the Michigan courts to act under color of law” in an effort to

chill her speech and invade her privacy. [Complaint, Par. 47, 52].


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         Bakhsehtsyan filed a Motion to Dismiss for failure to state a claim upon which

relief can be granted. Oral argument was scheduled for and heard on November 17,

2017. Counsel for Bakhsehtsyan failed to appear.

         Because Doe fails to establish a factual basis that Bakhsehtsyan was

transformed into a state actor and acting under color of law for purposes of 42 U.S.C. §

1983 when he employed his “litigation abuse and strategic lawsuits,” Bakhsehtsyan’s

Motion to Dismiss is GRANTED.

   I.       BACKGROUND

            A. Past Relationship Between Parties

         Doe and Bakhsehtsyan were students at the University’s Ross School of

Business. The two became romantically involved. Between August 2015 and July 2016,

Doe and Bakhsehtsyan traveled together and spent significant time together.

         According to Doe, their relationship was “tested” during this period. After taking a

trip to Lake Tahoe in July 2016, Doe decided that their relationship could not be

reconciled, partially because Bakhsehtsyan threatened that he would end her career

and ruin her reputation if she broke up with him. In mid-July 2016, Doe tried to end the

relationship, sending Bakhsehtsyan over a dozen messages asking him not to contact

her again. Doe then blocked Bakhsehtsyan from her phone. [Complaint, Par. 8-11].

         Doe alleges that her requests did not deter Bakhsehtsyan. He flew to Portland

and showed up unannounced at her apartment, although she had asked him not to.

Over the next month, Bakhsehtsyan sent messages over various internet applications,

demanding to see Doe. Bakhsehtsyan did this even though Doe had blocked his calls;


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and she tried to block the various assumed names he used in attempts to contact her.

Doe sent Bakhsehtsyan a final email saying if he did not stop messaging her, she would

seek legal action against him. Bakhsehtsyan still sent emails to Doe threatening to end

her career if she did not talk to him. [Complaint, Par. 11-13].

       Doe allegedly began receiving sexually vulgar and threatening text messages

from unknown numbers. The texts indicated that the sender knew where Doe was. The

sender also mentioned Doe’s sexual behavior, called her degrading names, and

threatened to “kick her ass” or “break her fingers one by one.” Doe received these

messages for months. She could not be sure they came from Bakhsehtsyan, but given

the timing, Doe suspected that he might be involved. She discussed the matter with

friends and relatives, who believed Bakhsehtsyan was the source of the messages, and

advised her to do what she needed to do to stay safe. Doe also says that over several

months, she received a constant barrage of calls from unknown numbers, sometimes

coming in batches of 100 per hour. [Complaint, Par. 14-16].

       Finally, when Doe returned to campus in Fall 2016 to start her second year,

Bakhsehtsyan repeatedly arrived at the inside door of the apartment where Doe lived

alone. To get to the inside door, Bakhsehtsyan waited by the locked outside doors for

someone to enter or exit. Doe did not answer her door when Bakhsehtsyan arrived in

this fashion. [Complaint, Par. 17].

          B. History Of Doe’s Legal Action Against Bakhsehtsyan

       On September 1, 2016, Doe reported Bakhsehtsyan’s behavior to the University.

After receiving witness accounts, and reviewing texts messages between the parties,


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the University’s Office of Institutional Equity issued a report. This report said Doe

alleged that between May and September 2016, Bakhsehtsyan engaged in harassing

and unwanted contact constituting stalking behavior, including texts, emails, phone

calls, social media messages, and in person contact. The report concluded by a

preponderance of the evidence, that Bakhsehtsyan had stalked Doe. Bakhsehtsyan

appealed the decision. Judge Barbara S. Jones, United States District Judge for the

Southern District of New York, reviewed and returned the report with no changes.

       Doe also filed a police report regarding Bakhsehtsyan’s stalking behavior. This

sparked a criminal investigation. Doe shared the text messages she received with

detectives at the Ann Arbor Police Department. The investigation led a detective to file a

criminal complaint against Bakhsehtsyan . He was arraigned on March 9, 2017 on

several counts, including Aggravated Stalking, and Malicious Use of

Telecommunications Services. Doe testified during Bakhsehtsyan’s preliminary hearing.

Bakhsehtsyan was bound over to face felony charges in the Washtenaw County Circuit

Court. Trial is scheduled to begin December 11, 2017.

       Doe also obtained an ex parte PPO against Bakhsehtsyan on April 21, 2017.

          C. History Of Bakhsehtsyan’s Legal Action Against Doe

       On March 7, 2017, Bakhsehtsyan filed a case against Doe for Defamation, False

Light, Intentional Infliction of Emotional Distress, and Intentional Interference with

Business Relations, in Washtenaw County Circuit Court. According to Doe,

Bakhsehtsyan filed this suit because of her allegations against him. Doe alleges that

after Bakhsehtsyan filed suit, he immediately sought private information about Doe


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using the state court discovery process. Specifically, Bakhsehtsyan subpoenaed the

University for Doe’s grades. Doe filed a protective order in an attempt to quash the

subpoena. The court denied it and ordered the University to comply with

Bakhsehtsyan’s request. Doe alleges that Bakhsehtsyan seeks to depose her, and

declined to handle discovery through written interrogatories.

       Bakhsehtsyan also sued the University on May 16, 2017 in the Michigan Court of

Claims. His claims against the University rise out of its findings that Bakhsehtsyan

stalked Doe. Bakhsehtsyan alleges the University violated Title IX of the Education

Amendments Act and his due process rights. Doe alleges that this suit is a continuation

of Bakhsehtsyan’s multi-pronged strategy to retaliate against her for seeking help.

       Finally, Bakhsehtsyan filed a motion to dissolve Doe’s PPO on June 7, 2017. The

PPO rules afforded Bakhsehtsyan a hearing, and Doe traveled across the country to be

questioned by Bakhsehtsyan’s attorney. Bakhsehtsyan watched.

          D. This Lawsuit

       Doe filed her two-count Complaint on July 7, 2017, claiming a violation of her

First Amendment rights, and a violation of her Fourteenth Amendment Rights, both

pursuant to 42 U.S.C. § 1983.

       In broad strokes, Doe describes how litigation abuses and strategic lawsuits

allow others to use the courts to chill free speech and invade privacy. According to Doe,

when victims obtain PPOs, stalkers resort to lawsuits to continue harassing and abusing

their victims. Specifically, Doe alleges that if Bakhsehtsyan is allowed to continue his

litigation “war” against her, future stalking victims would be deterred from reporting


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stalking, an already underreported crime. She claims that her case is one of an

increasing number of strategic lawsuits which seek to target victims who report stalking

and domestic violence crimes. [Complaint, Par. 32-41]. Multiple organizations against

domestic violence jointly filed an amici curiae brief that further detailed litigation abuses.

       While the Court acknowledges the real threats that stalkers and domestic

abusers present to their victims, and that some stalkers may use courts to further

victimize, it is not convinced that Doe has standing to assert the rights of others who

may have been victims of litigation abuse; she does not file this as a class action suit.

       Doe alleges that Bakhsehtsyan’s lawsuits and discovery requests are an attempt

to gain access to her. Because of Bakhsehtsyan’s actions, Doe says she has

continuously felt under attack and has suffered emotional angst. According to Doe, her

conversations with friends, family, the police, and University representatives are speech

protected by the First Amendment. She had such conversations in an effort to gain

redress from the government and the University. She says Bakhsehtsyan’s aggressive,

litigious actions against her are strategically calculated to chill her ability to seek this

redress. Doe also claims that Bakhsehtsyan’s suit against the University threatens to

cut her off from appropriate support from the University.

       Doe alleges that Bakhsehtsyan utilized the Michigan courts to act under color of

law and continue to contact her in an effort to chill her speech. Bakhsehtsyan’s

intentional actions, according to Doe, violated her First Amendment Rights pursuant to §

1983. [Complaint, Par. 31, 45-48].




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        Finally, Doe claims that she has a privacy interest in keeping her intimate

behavior private. By asking for help, Doe alleges that she did not seek to render public

any of the vulgar and lewd text messages she received. Doe alleges that Bakhsehtsyan

acted under color of law by using the Michigan courts to invade her privacy by bringing

to light intimate details of her life, in an effort to chill her participation in investigations

against him. Bakhsehtsyan’s intentional actions, according to Doe, violated her

Fourteenth Amendment Rights pursuant to § 1983. [Complaint, Par. 51-52, 54].

        In his Motion to Dismiss, Bakhsehtsyan argues that he is simply a state court

litigant – and not a state actor – and did not act under color of state law. For this reason,

Bakhsehtsyan argues that Doe’s § 1983 complaint should be dismissed for failure to

state a claim.

           E. Effect Of Other Litigation On This Case

        Doe lists several prayers for relief in her Complaint. However, due to recent

developments in the Michigan state court cases, Doe’s requests for injunctive relief are

moot.

        First, Doe asks the Court to enjoin the Washtenaw County Circuit Court from

allowing discovery in Bakhsehtsyan’s defamation action against her, until the conclusion

of Bakhsehtsyan’s criminal trial. However, on July 27, 2017, the Washtenaw County

Circuit Court stayed the defamation action pending conclusion of Bakhsehtsyan’s

criminal case. This request is moot.

        Second, Doe asks the Court to enjoin the Washtenaw County Circuit Court from

allowing an evidentiary hearing on Bakhsehtsyan’s motion to dissolve her PPO, until the


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conclusion of Bakhsehtsyan’s criminal trial. This request is moot as well; the state court

denied Bakhsehtsyan’s motion, and issued a modified PPO on August 31, 2017 that is

effective until April 21, 2022.

          Finally, Doe asks the Court to enjoin the Michigan Court of Claims from allowing

Bakhsehtsyan to depose her in his case against the University, until the conclusion of

Bakhsehtsyan’s criminal trial. However, the state court granted the University’s motion

to dismiss. Bakhsehtsyan filed a motion for reconsideration, but the state court denied it.

The case was closed on October 9, 2017. Accordingly, no discovery can occur in this

closed case. This request is moot as well.

          Doe’s remaining requests are that the Court: 1) declare Bakhsehtsyan’s conduct

unlawful and unconstitutional; 2) take pendent jurisdiction over Bakhsehtsyan’s state

court civil action; and 3) award monetary damages.

   II.       ANALYSIS

             A. Standard Of Review

          A motion to dismiss under Fed. R. Civ. P. 12(b)(6) tests the legal sufficiency of

the complaint. RMI Titanium Co. v. Westinghouse Elec. Corp., 78 F.3d 1125, 1134 (6th

Cir. 1996). A court must “construe the complaint in the light most favorable to the

plaintiff, accept its allegations as true, and draw all reasonable inferences in favor of the

plaintiff.” DirecTV, Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir. 2007). Dismissal is proper

only if it appears beyond doubt that the plaintiff can prove no set of facts in support of

the claims that would entitle him or her to relief.” Zaluski v. United Am. Healthcare

Corp., 527 F.3d 564, 570 (6th Cir. 2008). A complaint must contain sufficient factual


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matter to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A

claim is plausible on its face “when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Twombly, 550 U.S. at 556).

           B. Bakhsehtsyan Is Not A State Actor

       Doe argues that Bakhsehtsyan is a state actor and subject to liability under the

First and Fourteenth Amendments, pursuant to § 1983. The Court disagrees.

       “Normally, the activities of a private entity … in litigating … a civil dispute, are not

conduct under color of state law, an essential ingredient of an action under § 1983.”

Dempsey v. Sears Roebuck & Co., 1992 U.S. App. LEXIS 20672, *2 (1st Cir., Jun. 5,

1992). However, the Supreme Court has found that private litigants may act under color

of law when they “make extensive use of state procedures with the overt, significant

assistance of state officials.” Edmonson v. Leesville Concrete Co., 500 U.S. 614, 622

(1991).

       “In order to prevail on a claim brought under 42 U.S.C. § 1983, a plaintiff must

show that a person acting under color of state law deprived him of a right secured by

the U.S. Constitution or a federal law. A state actor’s violation of an individual’s

substantive due process right to privacy may give rise to a cognizable § 1983 claim.”

Moore v. WesBanco Bank, Inc., 612 Fed. Appx. 816, 821 (6th Cir. 2015).




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       Doe relies primarily on two cases to support her state actor argument: Lugar v.

Edmondson Oil Co., 457 U.S. 922 (1982), and Edmonson v. Leesville Concrete Co.,

500 U.S. 614 (1991).

       In Lugar, the plaintiff, a lessee-operator of a truck stop, was indebted to his

supplier, the defendant. Lugar, 457 U.S. at 924. The defendant sued plaintiff to recover

the debt in Virginia state court, and pursuant to state law, sought prejudgment

attachment of plaintiff’s property. Id. A state court clerk issued a writ of attachment; the

County Sherriff executed it. Id. The plaintiff filed suit in federal court under § 1983,

arguing that in attaching his property, the defendant acted jointly with the state to

deprive him of his property without due process of law. Id. at 925. The Court ultimately

held that “a private party’s joint participation with state officials in the seizure of disputed

property is sufficient to characterize that party as a state actor … .” Id. at 941 (internal

quotations omitted).

       Lugar involved an ex parte application by one party in a private dispute.

Importantly, the Court clarified that its holding “is limited to the particular context of

prejudgment attachment.” Id. at 939 n. 21.

       In Edmonson, the plaintiff, a black man, sued the defendant, his employer, in

federal court for negligence after he was injured on a jobsite in Fort Polk, Louisiana.

Edmonson, 500 U.S. at 616. During voir dire, the defendant used two of its three

peremptory strikes to remove black persons from the prospective jury. Id. Citing Batson

v. Kentucky, 476 U.S. 79 (1986), the plaintiff requested that the district court require the

defendant to articulate a race-neutral reason for striking the two blacks. Id. at 616-17.

The district court held that Batson did not apply to civil cases. Id. at 617. The Court of

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Appeals affirmed, holding that “the use of peremptories by private litigants does not

constitute state action and, as a result, does not implicate constitutional guarantees.” Id.

       The Supreme Court reversed. It cited Lugar, recognizing that “without the overt,

significant participation of the government, the peremptory challenge system, as well as

the jury trial system of which it is a part, simply could not exist.” Id. at 622. Further, the

Supreme Court concluded that the selection of jurors is a traditional government

function, and held that “a private entity becomes a government actor for the limited

purpose of using peremptories during jury selection.” Id. at 627.

       Lugar and Edmonson are distinguishable. The state of Michigan had no

involvement in Bakhsehtsyan’s litigation other than to promulgate rules of procedure for

court proceedings. This is a passive role, and the state did not encourage or render

assistance in the litigation to Bakhsehtsyan. Parker v. Byrd & Wiser, 947 F. Supp. 245,

250 (S.D. Miss. 1996). Such a situation is hardly equivalent to that of Edmonson, where

the court was heavily involved in empaneling the jury, and the Supreme Court has

described that role as a traditional government function. Id.

       Lugar announced a two-part test for determining state action. The Supreme

Court explained that a private party can be considered a state actor when: 1) the

deprivation was caused by the exercise of some right or privilege created by the state;

and 2) the party charged with the deprivation is a state actor, which may be because he

is a state official, acted together with or obtained significant aide from state officials, or

because his conduct is otherwise chargeable to the state. Lugar, 457 U.S. at 937.




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       The first prong is met here: Doe alleges that Bakhsehtsyan’s utilization of state

court civil procedures, a privilege created by Michigan, deprived her of her constitutional

rights. However, the inquiry does not end there, and the Court must carefully examine

whether the state action requirement is met as well. Id. at 936.

       To satisfy the second Lugar prong, Doe argued at the hearing that Bakhsehtsyan

relied on courts to contact her, via a court summons containing the imprimatur of the

court, and this represented significant aide to Bakhsehtsyan from state officials.

Because there was a PPO in place prohibiting Bakhsehtsyan from otherwise contacting

Doe, the courts, she argued, are the “but for” cause of his continued harassment. Doe

further argued that Bakhsehtsyan utilized a state process that fails to protect the

constitutional rights of crime victims, and Bakhsehtsyan’s conduct becomes otherwise

chargeable to the state.

       Although related, these two prongs are distinct. Id. at 937. Doe conflates them by

arguing that Bakhsehtsyan’s use of state court process converts his conduct into state

action. However, as the Supreme Court recognized, “[a]ction by a private party pursuant

to [state procedure], without something more, [is] not sufficient to justify a

characterization of that party as a state actor.” Id. at 938 (internal quotations omitted).

       Further, Doe does not allege that state court officials did anything active as the

state officials did in Lugar, such that Bakhsehtsyan could be considered a joint

participant with state officials. While the Michigan Court of Claims ordered the University

to comply with Bakhsehtsyan’s subpoena for Doe’s grades, there is an important

distinction between using state court litigation procedures available to all, and actually

using state officials to carry out those procedures. Smith v. Hilltop Basic Res., Inc., 99

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Fed. Appx. 644, 648 (6th Cir. 2004). “Contrary to [Doe’s] assertions, the rationale of

Lugar and Edmonson cannot be expanded to cover a private [litigant] who does nothing

more than issue a subpoena and oppose a motion to quash brought by the subpoenaed

party.” Id. Bakhsehtsyan’s actions “are more akin to tactical litigation practices than

traditional governmental functions like the exercise of peremptory challenges” in

Edmonson. Id. See also Bochetto v. Labrum & Doak, L.L.P., 1997 U.S. Dist. LEXIS

13326, *16 (E.D. Penn., Aug. 27, 1997) (“The mere issuance of a subpoena does not

rise to the level of a significant contribution of the state. It is one step removed. It is not

the direct and immediate seizure of the requested information”).

       Doe only alleges that Bakhsehtsyan’s reliance on the courts – and availing

himself of its process including discovery – constitutes state action. However, litigation

choices made by a private litigant in a civil case cannot be fairly attributable to the state.

Dempsey, 1992 U.S. App. LEXIS 20672 at *2. It is well settled that a private litigant

does not act under color of state law merely by bringing or defending a matter before a

state court. Robinson v. Michigan, 2009 U.S. Dist. LEXIS 84814, *26 (W.D. Mich., Aug.

4, 2009). See also Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 54 (1999) (“While

the decision of a [utilization review organization], like that of any judicial official, may

properly be considered state action, a private party’s mere use of the State’s dispute

resolution machinery, without the overt, significant assistance of state officials, cannot”).

       Bakhsehtsyan’s initiation of civil suits and utilization of state court procedures do

not transform him into a state actor for purposes of § 1983 liability. Edmonson, 500 U.S.

at 622. His actions lack the “something more” which Lugar held was an essential




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ingredient to justify the characterization of a private citizen as a state actor. Lugar, 456

U.S. at 938.

          C. Doe’s Allegations Of Bad Faith Do Not State A Claim For Relief

       Doe alleges that Bakhsehtsyan utilized state court procedures in bad faith, which

should support a finding that he acted under color of state law. In his reply brief,

Bakhsehtsyan only addresses this argument in passing, saying it is nothing other than

an attempt to get the Court to ignore clearly established law.

       Courts have dismissed plaintiffs’ § 1983 claims when they did not allege that the

defendant acted in bad faith in initiating state court proceedings. See Louisville Area

Inter-Faith Committee for United Farm Workers v. Nottingham Liquors, Ltd., 542 F.2d

652, 655 (6th Cir. 1976) (“[T]he federal complaint does not allege that [the defendant]

moved for the state court restraining order in bad faith … ”); Gottfried v. Medical

Planning Servs., 280 F.3d 684, 692 (6th Cir. 2002) (“Nor has [the plaintiff] alleged that

the … defendants petitioned the state courts in bad faith …).

       However, before addressing whether plaintiffs properly pleaded that defendants

acted in bad faith, these courts preliminarily addressed whether defendants acted under

color of law. See Nottingham Liquors, 542 F.2d at 655 (“We do not view [the

defendant’s] initiation of the state proceedings to be state action”); Gottfried, 280 F.3d at

692 (“[W]e do not find the fact that the … defendants initiated state court proceedings to

obtain an injunction to be state action”).

       Doe’s allegations of Bakhsehtsyan’s bad faith mean nothing unless she factually

supports first – that he is a state actor. She does not. Thus, although Doe may have


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alleged that Bakhsehtsyan utilized the state courts in bad faith, because she fails to

state a claim that Bakhsehtsyan acted under color of law, Doe’s allegations of bad faith

are meaningless.

           D. Michigan Procedures Have Not Been Declared Constitutionally

              Inadequate

       Doe argues that Bakhsehtsyan’s actions were only possible because Michigan’s

court rules and procedures are not designed to protect crime victims. According to Doe,

Michigan’s procedures are constitutionality inadequate because 1) civil discovery

procedures lack protection for crime victims who are sued; 2) the witness intimidation

statute fails to protect crime victims who are sued; and 3) the state lacks protections,

which other states have adopted, for crime victims who are sued in retaliation for

reporting crimes. Doe argues because the Lugar and Edmonson courts found state

action where there were inadequate safeguards, this Court should similarly find that

Bakhsehtsyan acted under color of state laws which insufficiently protected crime

victims.

       Doe would have the Court rule in this narrow circumstance, that when a criminal

defendant sues his accuser while criminal charges are pending, Michigan court

procedures are inadequate to protect crime victims’ constitutional rights. However, Doe

does not bring a constitutional challenge to any procedures, or cite to specific statutes

for the court to consider. The Court declines Doe’s request.

       Furthermore, Doe cites to no cases in which a court found that Michigan’s

procedures were unconstitutional. The Court is not required to accept Doe’s legal


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conclusion couched as a factual allegation. Iqbal, 556 U.S. at 678. She cannot prove

that Bakhsehtsyan utilized these procedures knowing they were unconstitutional; they

have not been declared as such.

       Thus, Doe cannot state a claim for relief. See Grossman v. DTE Energy Co.,

2010 U.S. Dist. LEXIS 133572, *7-8 (E.D. Mich., Dec. 17, 2010) (“In those cases when

a litigant's joint efforts with the state were deemed sufficient to trigger state action, the

plaintiff alleged … deliberate bad faith on the part of the litigant in seeking court action

that is unconstitutional”) (emphasis in original). See also Gottfried, 280 F.3d at 692

(“Nor has [the plaintiff] alleged that the … defendants petitioned the state courts in bad

faith or with knowledge that obtaining an injunction would be unconstitutional”)

(emphasis added).

           E. The Court Declines Supplemental Jurisdiction

       Does asks the Court to take pendent jurisdiction over the claims and

counterclaims raised in Bakhsehtsyan’s state court action against her, and to dismiss

Bakhsehtsyan’s claims and issue appropriate sanctions.

       Bakhsehtsyan’s state action includes claims for defamation, false light,

intentional infliction of emotional distress and intentional interference with business

relations. These allegations cover a host of issues between Doe and Bakhsehtsyan.

       The law only allows the Court to exercise jurisdiction over other claims that are

“so related” to the claim over which the Court has original jurisdiction that they form part

of the same case or controversy. 28 U.S.C. § 1367(a).




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          More importantly, Doe has a jurisdictionally insufficient federal claim which the

Court is dismissing. Accordingly, the Court exercises its discretion to decline

supplemental jurisdiction over any state court claims that may be related to this

dismissed claim. 28 U.S.C. § 1367(c).

   III.      CONCLUSION

          It has been difficult to isolate the particular constitutional infringement that Doe

complains of. Doe says litigation abuse and Bakhsehtsyan’s strategic lawsuits against

her public participation have transformed the state courts into Bakhsehtsyan’s vehicle to

chill her free speech and invade her privacy.

          The Court accepts as true Doe’s allegations that she feels constantly threatened

and anxious because of Bakhsehtsyan’s use of state court civil discovery procedures.

Construing the allegations of the complaint in her favor, Bakhsehtsyan’s actions towards

Doe justify her sense of danger, and may even have the effect of depriving her of her

privacy and free speech.

          However, because Doe fails to allege facts that support a finding that

Bakhsehtsyan is a state actor, she cannot get redress for Bakhsehtsyan’s actions using

§ 1983 as a vehicle. The factual basis to support that Bakhsehtsyan acted under color

of state law is clearly missing. Hilltop, 99 Fed. Appx. at 646. And, interpreting § 1983 in

a way that reaches this type of private conduct would give courts the authority to

“amplify prohibitions of the Constitution,” an authority that the courts do not possess.

Lisa E. Heinzerling, Actionable Inaction: Section 1983 Liability for Failure to Act, 53. U.

Chi. L. Rev. 1048, 1060 nt. 71 (internal citations omitted).


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       Doe argued at the hearing that Michigan’s failure to protect crime victims in the

civil discovery process supports a finding of state action. However, courts have required

that a special duty exist between states and private citizens before the state can be held

liable for a failure to act. Id. at 1051. But a state’s decision to provide basic protections

to the general public does not obligate it to render assistance in a specific situation. Id.

at 1056. Accordingly, Michigan’s alleged failure to act is not actionable under § 1983.

       Alleging facts that would hold a state liable under § 1983 for its inaction is tough

enough. And Doe does not even seek relief against the state. The missing piece of the

puzzle is that Doe fails to establish the state had any duty to act in the first place to

protect her from Bakhsehtsyan’s litigation strategies. She also fails to establish that

Bakhsehtsyan’s choice of lawful strategies – without any overt, significant assistance of

state officials – somehow created a close enough nexus between Bakhsehtsyan and

the state such that any injuries suffered by Doe and caused by Bakhsehtsyan, can be

described as state action for purposes of §1983 liability. This is simply not the law.

       Because Doe fails to allege facts that would allow the Court to draw the

reasonable inference that Bakhsehtsyan is an instrument of the state, Doe’s § 1983

claim fails.

       Bakhsehtsyan’s Motion to Dismiss is GRANTED.

       IT IS ORDERED.

                                           S/Victoria A. Roberts
                                           Victoria A. Roberts
                                           United States District Judge

Dated: November 21, 2017


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